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 7
                                 UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
                                       OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                 STATEMENT PURSUANT TO LOCAL
                                                  RULE 79-5(F)(3) OF DEFENDANTS NSO
13                Plaintiffs,                     GROUP TECHNOLOGIES LIMITED
                                                  AND Q CYBER TECHNOLOGIES
14                                                LIMITED IN RESPONSE TO
           v.
                                                  PLAINTIFFS’ ADMINISTRATIVE
15                                                MOTION TO CONSIDER WHETHER
     NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,            ANOTHER PARTY’S MATERIAL
16                                                SHOULD BE FILED UNDER SEAL [RE
                  Defendants.                     DOCKET NO. 436]
17
                                                  Judge: Hon. Phyllis J. Hamilton
18
                                                  Action Filed: 10/29/2019
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       DEFENDANTS’ LOCAL RULE 79-5(F)(3)                               Case No. 4:19-cv-07123-PJH
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 1           Pursuant to Civil Local Rule 79-5(f)(3), Defendants NSO Group Technologies Limited and
 2   Q Cyber Technologies Limited (collectively, the “Defendants”) submit this statement in response
 3   to Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Material Should Be
 4   Filed Under Seal (“Administrative Motion”) (Dkt. 436). Plaintiffs identify portions of their Reply
 5   in Support of Motion for Partial Summary Judgment (the “Summary Judgment Reply”), Exhibits
 6   37, 38, 40, and 41 to the Reply Declaration of Micah G. Block in Support of the Summary
 7   Judgment Reply (the “Block Reply Declaration”), portions of the Reply Declaration of David
 8   Youssef in Support of Plaintiffs’ Summary Judgment Reply (the “Youssef Reply Declaration”),
 9   and Exhibits A and B to the Youssef Reply Declaration (collectively, the “Materials”) as
10   containing, referring to, or deriving from, documents that Defendants and/or nonparty Joshua
11   Shaner have designated as Confidential or Highly Confidential-Attorneys’ Eyes Only pursuant to
12 the Stipulated Protective Order (Dkt. No. 132).

13      I.      ARGUMENT
14           A. Legal Standard
15           Although courts recognize a general right to inspect and copy public records, “access to
16 judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178

17 (9th Cir. 2006). A party seeking to seal materials submitted with a motion for summary judgment

18 must demonstrate that there are compelling reasons to keep the documents under seal. See Ctr. for

19 Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1101–02 (9th Cir. 2016). It is in the “sound

20 discretion of the trial court” to determine what constitutes a “compelling reason.” In re Da Vinci

21 Surgical Robot Antitrust Litig., 2024 WL 1687645, at *1 (N.D. Cal. Apr. 17, 2024).

22           As an initial matter, courts have found compelling reasons to seal sensitive non-public
23   information implicating confidentiality interests of government bodies. See Hyundai Motor Am.,
24   Inc. v. Midwest Indus. Supply Co., 2019 WL 11638962, at *2 (D. Nev. June 20, 2019). For
25   additional background, argument, and authorities relevant to this topic, the Court is respectfully
26   referred to ¶¶ 2, 4-12, & 13(a)-(e) of Dkt. 433-1. As specified below, the events, arguments, and
27   authorities discussed therein support sealing the Materials.
28           In addition, “[c]ompelling reasons justifying sealing court records generally exist” when
       DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                      Case No. 4:19-cv-07123-PJH
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 1   such files contain “trade secrets [] or … business information that might harm a litigant’s
 2   competitive standing.” Hyundai Motor, 2019 WL 11638962, at *1; see also Grace v. Apple, Inc.,
 3 2019 WL 12288173, at *3 (N.D. Cal. Aug. 22, 2019) (“Competitive harm and security concerns

 4 can qualify as compelling reasons.”). Courts have thus found that compelling reasons exist to seal

 5 “proprietary information concerning [a party’s] technology and internal business operations” and

 6 “descriptions of [a party’s] proprietary technology.” Transperfect Global, Inc. v. MotionPoint

 7 Corp., 2013 WL 706975, at *1 (N.D. Cal. Feb. 26, 2013); see also Finjan, Inc. v. Proofpoint, Inc.,

 8 2016 WL 7429304, at *2 (N.D. Cal. Feb. 9, 2016) (recognizing “compelling reasons to seal . . .

 9 source code directories, information about the technical operation of the products, . . . and excerpts
10 from expert depositions [and] expert report[s]”). Courts have also found compelling reasons to

11 seal “customers’ personal information, which includes the customers’ . . . activities on certain

12 platforms, in order to protect the customers’ privacy.” Activision Publ’g, Inc. v. Engine Owning

13 UG, 2023 WL 2347134, at *1 (C.D. Cal. Feb. 27, 2023).

14          B. Plaintiffs’ Administrative Motion Should be Granted.
15          As discussed below, the above-referenced considerations strongly support sealing of the
16 Materials. Accordingly, the Court should grant Plaintiffs’ Administrative Motion and maintain

17 the Materials under seal.

18          The indicated portions of Plaintiffs’ Summary Judgment Reply. The highlighted portions
19 of Plaintiffs’ Summary Judgment Reply refer to information that is subject to legal restrictions and
20 confidentiality obligations discussed in detail at ¶¶ 2, 4-12, & 13(a)-(e) of Dkt. No. 433-1 that,

21 alone, supply compelling reasons to seal those portions of Plaintiffs’ Summary Judgment Reply.

22 Those portions of Plaintiffs’ Summary Judgment Reply also discuss highly confidential

23 information about the research, development, and functioning of Defendants’ technologies, other

24 confidential and competitively sensitive information of Defendants, and/or confidential customer

25 information, all of which warrants sealing to prevent substantial harm to Defendants’ business and

26 to Defendants’ government customers. See, e.g., Finjan, 2016 WL 7429304, at *2; Transperfect ,

27 2013 WL 706975, at *1; Activision, 2023 WL 2347134, at *1; Hyundai Motor, 2019 WL

28 11638962, at *1.
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 1          Exhibits to the Block Reply Declaration. Exhibits 37, 38, 40, and 41 Block Reply
 2   Declaration refer to information that is subject to legal restrictions and confidentiality obligations
 3   discussed in detail at ¶¶ 2, 4-12, & 13(a)-(e) of Dkt. No. 433-1 and also reference highly
 4   confidential technical information regarding the functioning of Defendants’ technology and/or
 5   confidential customer information.      Accordingly, compelling reasons support sealing those
 6   portions. See Dkt. No. 433-1, ¶¶ 11-12 & 13(a)-(e); see also, e.g., Finjan, 2016 WL 7429304, at
 7   *2; Transperfect, 2013 WL 706975, at *1; Activision, 2023 WL 2347134, at *1; Hyundai Motor,
 8   2019 WL 11638962, at *1. Moreover, Exhibit 41 contains personal WhatsApp account numbers,
 9   which further supports sealing. See, e.g., Nursing Home Pension Fund v. Oracle Corp., 2007 WL
10   3232267, at *1 (N.D. Cal. Nov. 1, 2007) (“The Ninth Circuit has found that compelling reasons
11   exist to keep personal information confidential to protect an individual’s privacy interest and to
12   prevent exposure to harm or identity theft.”) (citing Foltz v. State Farm Mut. Auto. Ins. Co., 331
13 F.3d 1122, 1134 (9th Cir. 2003)).

14          The indicated portions of the Youssef Reply Declaration and Exhibits A and B thereto.
15 The highlighted portions of the Youssef Reply Declaration and Exhibits A and B thereto are replete

16 with references information that is subject to legal restrictions and confidentiality obligations

17 discussed in detail at ¶¶ 2, 4-12, & 13(a)-(e) of Dkt. No. 433-1 and also reference highly

18 confidential technical information regarding the functioning of Defendants’ technology.

19 Accordingly, compelling reasons support sealing those portions. See Dkt. No. 433-1, ¶¶ 11-12 &
20 13(a)-(e); see also, e.g., Finjan, 2016 WL 7429304, at *2; Transperfect, 2013 WL 706975, at *1.

21                                                  ******
22          As shown above and in Dkt. 433-1, ¶¶ 2, 4-12, & 13(a)-(e), compelling reasons exist to
23 seal the Materials. Defendants have analyzed each of the documents being filed, and for each,

24 Defendants are asking the Court to file under seal only the minimum necessary to meet their legal

25 obligations and to preserve their confidential information. Accordingly, Defendants ask that the

26 Court grant Dkt. 436 and enter the [Proposed] Order filed herewith.

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 1
     DATED: October 25, 2024                   KING & SPALDING LLP
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 5                                                 TECHNOLOGIES LIMITED and Q
                                                   CYBER TECHNOLOGIES LIMITED
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       DEFENDANTS’ LOCAL RULE 79-5(F)(3)                           Case No. 4:19-cv-07123-PJH
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